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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 COLDWATER CREEK INC.,                                )
                                                      )
                                   Plaintiff,         )
                                                      )           Case No. 1:06-cv-818-DFH-TAB
                           v.                         )
                                                      )
 CHARLES E. HILL & ASSOCIATES, INC.,                  )
                                                      )
                                   Defendant.         )

                         STIPULATION OF DISMISSAL BETWEEN PLAINTIFF
                            AND CHARLES E. HILL & ASSOCIATES, INC.

                    Plaintiff and Defendant, Charles E. Hill & Associates, Inc.. ("Hill") have agreed

 to dismiss this case effective as of this 26th day of October, 2006.

                    Therefore, Plaintiff and Hill stipulate, subject to an Order of the Court dismissing

 Plaintiff's claims against Hill with prejudice:

                    1.     Plaintiff's Complaint against Hill is dismissed with prejudice.

                    2.     Any counterclaims asserted by Hill are dismissed with prejudice.

                    3.     Each party shall bear its own attorneys fees, expenses, and costs.

 STIPULATED AND AGREED TO:

         /s/ Trevor Carter                                /s/ Peter J. Brann____________________
         R. Trevor Carter                                 Peter J. Brann
         BAKER & DANIELS LLP                              BRANN & ISAACSON
         300 North Meridian Street                        184 Main Street
         Suite 2700                                       P.O. Box 3070
         Indianapolis, IN 46204                           Lewiston, ME 04243
         Telephone: (317)-237-0300                        Telephone: (207) 786-3566

         Attorney for Charles E. Hill                     Attorney for Coldwater Creek Inc.
         & Associates, Inc.




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                                                8th day of November, 2006.
                    So ORDERED and SIGNED this _____


                                            __________________________________________
                                            Honorable David F. Hamilton
                                            Judge, United States District
                                            Southern District of Indiana
                                            Indianapolis Division




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